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sossY sTi¢\NaER‘i'1 060\/5242
Piaintiff, JUDGE BUCKLO
_VS- NIAG. JUDGE VALDEZ

CSX TRANSPORTAT|ON, lNC.. TR|AL BY JURY DEMANDED

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a corporationl )
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Defendant. )
COMPL.A|NT

The plaintiff, BDBB‘¢’ ST)°\NESER`Y'1 by his attorneys, Robert E. Harrington, Jr., Patrick
J. Harrington and Danie| W. Pisani of HARRiNoToN, THoMPsoN,AcKER&HAaaiNoToN, LTo.l

complaining of defendant, CSX TRANSPC)RTAT|ON, |NC., hereinafter CSXT, states;

1. Thejurisdiction ofthis Court is invoked underthe provisions of Title 45 U.S.C.
§56 and Title 28 U.S.C. §'133'1.

2. The defendant, CSXT, is a corporation engaged in operating a railroad as a
common carrier engaged in interstate commerce between the Various states of the United
States, including the Northern District of |||inois, and is subject to service of process and
to the jurisdiction of this Court.

3. At the time of the accident and injury alleged herein1 plaintiff Was employed
by defendant as a conductor and his duties as such Were in furtherance of interstate
commerce for defendant At said time, both plaintiffand defendant were subject to the Act

of Congress known as the Federal Emp|oyer’s Liabi|ity Act, 45 U.S.C. §51 et seq.,

amendments thereto and the Code of Federal Regu|ations.

 

 

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4. That on or about September 30, 2003 plaintiff was injured while working for
defendant at or near the City of Louisviile in the State of Kentucky.

5. At said place and time, plaintiff was assigned by defendant CSXT to Work as
a conductor trainee in defendant’s Osborn Yard1 Louisvi|le, Kentucky.

6. F'laintiff was assigned to a crew that was performing various switching
maneuvers in the yard. As part of his duties1 plaintiff and the conductor in charge of his
crew Were riding on the side of a railcar that was being shoved down a track. At that time,
the engineer who was operating the locomotive that was shoving the railcarwas instructed
by the conductor in charge to slow the locomotive because the train was approaching other
railcars that were positioned on the same track. Despite being instructed to slow down, the
engineer failed to slow the movement of railcars. The P|aintiffand the conductor in charge
realized that the railcar they were riding was on a direct course to collide with the other
railcars on the track. The conductor in charge then ordered the plaintiff to jump off of the
moving railcar to avoid the impending collision The plaintiff did jump off the railcar onto
the ground and was thereby caused to be injured.

7. F'laintiff was acting at all times alleged herein within the scope of his
employment and in furtherance of defendant's business, and it was defendants duty to
exercise ordinary care to furnish plaintiff with a reasonably safe place in which to work; to
use reasonable safe methods in its switching operations; to stop the movement of cars to
avoid a collision; to stop the movement of cars when radio communications were not
maintained; to inspect, maintain, and service radio equipment; and it was defendants
absolute duty to comply with Code of Federal Regulations 49 C.F.R. Part 220, Radio

Communications.

 

 

8.

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At the time and place alleged, defendantl notwithstanding its duties to

plaintiff1 was guilty of unlawful conduct and was careless and negligent in one or more of

the following particulars and thereby caused injury to plaintiff:

H)

b)

G)

d)

f)

s)
h)

i)

9.

ln failing to exercise ordinary care to furnish plaintiff with a reasonably safe
in which to work;

ln failing to use reasonable safe methods in its switching operations;

|n failing to stop the movement of cars to avoid a collision With other railcars
on the track;

ln failing to comply with the instructions of the conductor in charge to slow
down the movement of cars;

|n failing to comply with the instructions of the conductor in charge to stop the
movement of cars;

ln failing to stop the movement of cars when continuous radio contact was
not maintained;

ln failing to inspect, maintain, and service radio equipment;

ln failing to comply with Code of Federal Regu|ations 49 C.F.R. Part 220,
Radio Communications;

|n failing to comply with Code of Federal Regu|ations 49 C.F.R. Part 220.49,
Radio communication used in shovingl backing or pushing movements;

ln failing to warn plaintiff when timely warning would have averted injury to
him.

P|aintiff sustained personal injuriesl disability, pain and suffering, medical

expenses, wage losses and other recoverable damages supported by the evidence and

permitted by law resulting in whole or in part from the careless and negligent acts and

omissions of defendant.

 

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WHEREFORE, plaintiff BC}BBY STANBERY prays for a judgment of damages
against defendant CSX TRANSPORTAT|ON, lNC. in an amount sufficient to satisfy the
jurisdictional limitations ofthis court, plus whateveradditiona| amountthe court and thejury
shall deem proper as compensatory damages, plus the costs of this lawsuit and other

recoverable damages permitted by law.

Respectfully submitted ,

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Robeit Harri gton Jr,/

Patrick ..l. Harrington

DanielW. Pisani

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HAaniNoToN, LTo.

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